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UNITED STATES DISTRICT-COURT ||
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO
ALL CLASS ACTIONS

MDL No. 1456
CIVIL ACTION: 01-CV-12257-PBS

Judge Patti B. Saris

PLAINTIFFS’ SUR-REPLY IN OPPOSITION TO CONSOLIDATED MOTION‘TO

DISMISS THE AMENDED MASTER CONSOLIDATED CLASS ACTION. COMPLAINT

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I. INTRODUCTION

Defendants’ replies suffer from three common defects. They (i) ignore controlling
allegations of the complaint; (ii) ignore the Court’s May 13, 2003 Order (“Order’’); and
(iii) assert a host of factual issues that are inappropriate at this stage of the proceedings.

For example, Defendants repeatedly assert that there is no incentive to engage in the
AWP Inflation Scheme in the generic and multiple source drug market. However, the AMCC’s
controlling allegations expressly aver the reasons why AWP inflation occurs for generic and
multiple source drugs and provides specific allegations that AWP inflation in the generic
marketplace is rampant; cites specific instances where generic drug manufacturers have acted to
meet the AWP inflated prices of others who inflate their AWPs; and alleges that one
manufacturer has admitted in litigation elsewhere that it competes with other Defendants on the
basis of AWP inflation and, when prevented from doing so, immediately lost business. Thus, the
AMCC establishes that the AWP Inflation Scheme involves generic and multiple source
manufacturers. All of these allegations are either ignored or quarreled with in the dozens of
pages submitted on this issue in Defendants’ common brief and in the Defendant-specific briefs.
See Section ILE.

In addition to ignoring the AMCC’s allegations, Defendants’ common tactic in their 9(b)}
motions is to raise the pleading bar by demanding specifics not sought in their prior motions to
dismiss. Plaintiffs crafted their AMCC to comply with the Court’s May 13 Order, yet
Defendants’ replies completely ignore the terms of the Order as if it did not exist and seek to
impose new pleading requirements not required by the Order or by Rule 9(b). For example,
Defendants now assert that Plaintiffs must identify in the complaint “communications” between
union health funds and PBMs. But Defendants do not proffer any explanation as to why such
communications are required under Rule 9(b) or how they would enlighten Defendants as to the
“who, what, when and where” of the AWP Inflation Scheme as implemented by Defendants in

the PBM marketplace. Defendants also now demand additional details that would be known

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only to parties to the scheme, ignoring the AMCC’s allegations that those details, such as
Defendants’ real AWPs or the secret rebates provided to PBMs, are closely guarded “state
secrets” that are not in Plaintiffs’ possession. As another example, Defendants’ initial motion to
dismiss — filed almost a year ago — did not suggest that Plaintiffs needed to allege precise spreads
for every drug and every time period, but that is now the level of pleading detail that Defendants
emphatically demand is needed to comply with Rule 9(b).

Defendants’ attacks on the RICO Counts also ignore the allegations and factual changes
made in response to the Order. First, Defendants cannot hide from the fact that the AMCC
solves the Court’s “hub and spoke” concern. Second, the AMCC adds factual allegations that
explain the structure of the enterprises and identify a shared common purpose in both the PBM
and publisher enterprises. These factual allegations directly address the Court’s concerns
regarding common purpose and participation in an enterprise. Though Defendants call these
allegations “ritualistic,” they are in fact the type of factual allegations that satisfy RICO pleading
standards in this Circuit, particularly where the facts are exclusively in Defendants’ possession.

One Defendant has called the AWP Inflation Scheme “scandalous, or worse, fraudulent.”
7 319.' Another has confessed to the “deliberate manipulation of AWP or WAC prices as a
problem that we need to address.” §/ 277. Defendants maintain that not only is the “scandalous”
practice not subject to RICO, it is also free from challenge under any of the state consumer
protection laws identified in the AMCC. Fortunately for consumers and payors who are the
victims of this scandal, state consumer laws do allow for redress. Defendants’ claim that
Plaintifts fail to plead causation under state consumer protection laws is rejected by Defendants’
own documents cited in the AMCC acknowledging that third-party payors and co-payors are the
direct targets of AWP manipulation. Plaintiffs have thus alleged causation. Furthermore,
consumer protection laws do not require reliance as Defendants assert, and each Plaintiff has

standing to bring claims under the consumer protection claims.

'“° denotes paragraphs in the AMCC.

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Finally, Defendants’ protestations to the contrary, another state law that allows redress
for this “deliberate manipulation” of AWPs is the law of civil conspiracy. The allegations
conceming the agreements and acts between PBMs and Defendants, and between the Publishers
and Defendants, all committed to achieve an improper and unlawful purpose, present a textbook
claim of civil conspiracy.

Defendants’ motions should be dismissed in their entirety.

H. ARGUMENT

A. A Generalized Scheme To Defraud Supported By Specific Allegations Directed
Against Each Defendant Satisfies Rule 9(b)

1. The Defendants’ Ever-Increasing 9(b) Demands are Not Supported by the
Law or the Court’s Prior Order

From the filing of their original motion to dismiss the MCC, to their recent reply briefs
directed to the AMCC, Defendants present escalating and changing demands as to the
requirements of Rule 9(b). They demand that the AMCC contain details not requested before,
including information that would serve no purpose under Rule 9(b), such as the terms of
contracts between PBMs and union health plans, which terms are not germane to the claims of
whether PBMs and Defendants joined in a scheme to defraud, as well as a host of other pleading
requirements that this Court did not specify in its May 13 Order. In re Pharm. Indus. Average
Wholesale Price Litig., 263 F. Supp. 2d 172, 194 (D. Mass. 2003) (“AWP”). Defendants also
continue to ignore that their 9(b) motions directed to the MCC, which alleged the PBM’s role in
the AWP Inflation Scheme, were denied, except for three specific criteria required by the Court

of any future complaint, with which the AMCC complies. Jd. at 194.

a. The PBM allegations satisfy Rule 9(b)
In an effort to convince the Court that the PBM allegations are deficient, Defendants
either ignore the allegations or distort them. First, Defendants completely ignore the fact that the

PBM allegations were included in the MCC, as recognized by the Court’s May 13 Order:

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Plaintiff union and employee health benefit plans contract with
drug plan managers, known as Pharmacy Benefit Managers
(“PBMs”), which operate as intermediaries between the
pharmaceutical companies and the private health plans. These
PBMs set prices on their formularies — their drug fee lists - based
on the AWP figures reported in the same trade publications used
by the Medicare program, less a certain percentage discount.
Again, defendants market the same pricing and reporting “spread”
to PBMs that they do to individual health care providers serving
Medicare patients. The PBMs are offered drugs at highly
“discounted” actual prices while charging the private health plans
fees based on the inflated AWPs. The PBMs benefit by keeping
the “spread” for themselves and the pharmaceutical companies
benefit because PBMs are drawn to keeping on their formularies
drugs from those companies offering the most lucrative “spreads.”

AWP, 263 F. Supp. 2d at 179-80. Significantly, the Court did not require any more details
regarding the role of the PBMs in the AWP Inflation Scheme. Rather, with respect to the
scheme as alleged in both the Part B and PBM markets, the Court directed that the complaint
identify (i) the drugs purchased from a Defendant, (ii) the fraudulent AWP for each drug, and
(iii) a purchaser. The AMCC complies with each of these directives and consequently complies
with Rule 9(b).

Implicitly recognizing that the AMCC complies with the Court’s May 13 Order,
Defendants change course and now demand information not previously demanded in their
Rule 9(b) motions directed at the PBM part of the case, such as “communications” between
union health care plans and PBMs,” Defs. Reply at 4. Yet Defendants do not explain how these
communications are relevant to the claims in the AMCC, particularly in light of the Court’s
recognition that Plaintiffs alleged that the drug companies market the “spread,” while the PBMs
“keep[] the ‘spread’ for themselves.” AWP, 263 F. Supp. 2d at 180. Nor do Defendants explain

why such communications are required under 9(b).

* In their individual memoranda, Defendants seck to impose a host of other requirements. For example,
AstraZeneca in its Defendant-“specific” brief demands that there must be allegations as to the pricing, sale,
marketing and limitations of each drug. AstraZeneca at 2, Other Defendants demand that the complaint identify the
prices each Plaintiff paid in every transaction, and still others demand that the AMCC identify competing drugs
(e.g., Abbott, Tap). Such demands would eviscerate Rule 8(a) and have never been imposed by any court. The
Court has recognized that, if left to their own devices, Defendants’ demands will never cease. That is why the
May [3 Order provided a standard that was sensible and objective. The AMCC meets that standard.

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Second, Defendants’ replies continue to completely ignore authorities holding that, where
the facts are exclusively in Defendants’ possession, a high degree of pleading precision is not
required; rather, Plaintiffs need only present a general outline of the scheme. See Plaintiffs’ Opp.
at 10-12 (citing, among other cases, this Court’s decision in United States ex rel. Franklin y.
Parke-Davis, 147 F. Supp. 2d 39 (D. Mass. 2001)). Defendants seek to avoid these authorities
by arguing that the details of their secret rebates and spread arrangements with PBMs are not in
their exclusive control, but this argument is spurious and contrary to the allegations of the
AMCC. The negotiations and agreements between Defendants and PBMs are closely guarded
secrets to which union health care plans are not a party,’ and Defendants do not suggest
otherwise. Thus, unlike United States ex. rel. Walsh v. Eastman Kodak Co., 98 F. Supp. 2d 141,
147 (D. Mass. 2000) (cited by Defendants), Plaintiffs here are in no position to uncover all of the
details of the frauds or to plead them in the specificity now demanded.

Defendants next try to confuse the issue by claiming that Plaintiffs’ “various allegations”
regarding Part B drugs do not satisfy 9(b) with respect to PBM claims because they involve
“hundreds of different drugs sold through retail pharmacies” that are reimbursed on different
contracts. Defs. Reply at 3. However, as the Court recognized in its May 13 Order, the scheme
is essentially the same whether within or outside the Part B context. AWP is used as a tool to
encourage providers in the case of Part B covered drugs, or PBMs in the case of non-Part B
drugs, to utilize a specific drug and an inflated AWP in order to benefit from the spread. AHP,
263 F. Supp. 2d at 178-82. And Defendants are dead wrong when they state the “AMCC is
devoid of any defendant-or-drug-specific allegations relating to the PBM claims.” Defs. Reply
at 3. In other words, the drugs at issue are not just sold in the Part B market; they are also used
by practitioners in the treatment of non-Part B patients. And once a fraudulent AWP is
published, that fraudulent AWP is used as a reimbursement benchmark in all markets. See, e.g.,

{| 168. The allegations in the AMCC on any given drug supply the specificity for both the Part B

3 See ¥.175 (“PBMs pocket a secret spread”); #] 191-97 (outlining concealment),

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and PBM markets. And, as required by the May 13 Order, each non-Part B drug listed in
Appendix A is specified by the AMCC to be fraudulent in both the Part B and PBM context.
Again, nothing more is required by Rule 9(b).

Finally, Defendants chastise Plaintiffs for attempting to “hide behind the massive case
they have created as a reason to disregard Rule 9(b).” Nonsense; even if the case involved one
Defendant, the pleading requirements would be the same and would be satisfied by the AMCC.
Defendants originally demanded the “who, what, when and how” of the fraud, and the AMCC
supplies that information. In the context of the PBM involvement in the AWP Inflation Scheme,
every Defendant is on notice of the nature of the scheme and the precise drugs at issue. The
remaining details now demanded by Defendants are matters properly left to discovery (e.g., what
Plaintiffs paid for each drug), or matters that could only be pled if Plaintiffs were involved in or
participated in the fraud.’ Defendants did not raise these issues in their originai motions, and the
issues are not properly raised now after the Court instructed Plaintiffs how to satisfy Rule 9(b) in
repleading. And to the extent that any of the issues were inferentially contained in Defendants’

prior motions, they were rejected by the Court.

b. Plaintiffs have satisfied Rule 9(b) as to Part B drugs

Defendants again ignore the controlling allegations and the Court’s May 13 Order. The
controlling allegations clearly identify at issue not “all Part B covered drugs” as Defendants
claim, but those identified in Appendix A. See 11; see also, e.g., §§ 201, 231, 250, etc., for
each Defendant. And, most importantly, the Part B allegations comply precisely with the
Court’s directive to plead three elements: (i) the specific drug purchased from a Defendant,
(ii) the allegedly fraudulent AWP, and (iii) the identity of the Plaintiff that purchased the drug.
AWP, 263 F. Supp. 2d at 194,

* Several Defendants also demand details of Plaintiffs’ purchase prices. Such purchase information is not
required and would tum the AMCC into a thousand page encyclopedia. Plaintiffs have alleged that they purchased
drugs based on inflated AWPs (4 139), and that satisfies 9(b).

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Cc. The allegations of hidden paybacks, rebates, educational grants and
similar payoffs are sufficient

Defendants claim that the allegations of improper inducements also violate 9(b). Again,
the Court did not require any further details regarding improper inducements, so it is hard to
conceive how the allegations that survived the motions directed to the MCC, and which were

actually improved upon in the AMCC, “blatantly violate” Rule 9(b) as Defendants now claim.

B. Plaintiffs’ RECO Allegations Should Be Sustained

As previously asserted, Count I of the AMCC properly alleges 66 separate association-in-
fact Manufacturer-Publisher Enterprises, with each enterprise consisting of a single
pharmaceutical company and a single publisher.’ § 624, 628: see also Plaintiffs’ Opp. at 19.
Count IT properly alleges 88 separate association-in-fact Manufacturer-PBM Enterprises, with
each enterprise consisting of a single pharmaceutical company and a single PBM. §§ 650, 661;
see also Plaintiffs’ Opp. at 25. These reconstituted association-in-fact RICO enterprises solve
the “hub-and-spoke” infirmity that the Court flagged in dismissing civil RICO claims from the
previous complaint alleging the existence of the “AWP Enterprises” and the “Publisher
Enterprises.” AHP, 263 F. Supp. 2d at 172.

In reply, Defendants level a variety of attacks against the sufficiency of the AMCC’s
RICO enterprise allegations and Plaintiffs’ standing to bring RICO claims. See Defs. Reply at 6-
13. However, Defendants’ pleading challenges ignore the detailed allegations of Counts I and II
and well-settled First Circuit authority (and other persuasive cases) demonstrating the sufficiency

of Plaintiffs’ RICO counts.

> Defendants chastise Plaintiffs as to the number of separate enterprises, as if numbers are a measure of pleading
sufficiency. If Plaintiffs sued each Defendant in a standalone case, there would be seven enterprises in the case —
three publisher enterprises and four PBM enterprises. This is hardly a number that suggests some type of pleading
deficiency. The fact that there are dozens of enterprises simply reflects the consolidation by the MDL Panel of these
cases,

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1. The AMCC Properly Alleges the Enterprise Structures

Defendants attack Plaintiffs for engaging in a “cynical pleading game” by purportedly
failing to set forth a “single fact’’ supporting the enterprise allegations. Defs. Reply at 6-10.
Defendants’ unhelpful rhetoric aside, actually reviewing the AMCC and the proper pleading
standards — in lieu of leveling sweeping and unfounded assaults — reveals the sufficiency of
Plaintiffs’ enterprise allegations.

Contrary to Defendants’ assertion, see Defs. Reply. at 7, “there is no heightened pleading
standard for allegations of RICO enterprise .... ‘At the pleading stage, a plaintiff typically need

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only identify the alleged enterprise to satisfy notice pleading requirements.’” Grider v. Keystone
Health Plan Cent., Inc., 2003 U.S. Dist. Lexis 16551, at *69 (E.D. Pa. Sept. 18, 2003) (quoting
Seville Indus. Mach. Corp. v. Southmost Mach. Corp., 742 F.2d 786, 790 (3d Cir. 1984)). In that
recent case, the plaintiff physician and her professional corporation provided medical services to
about 4,000 patients who were insureds of defendant Keystone Health Plan Central, an HMO. In
their civil RICO claim, plaintiffs alleged that Keystone, two entities (Capital Blue Cross and
Hallmark) that controlled Keystone, and the CEOs of those three corporate entities, and “various
non-parties [software providers, claims reviewers and trade associations] together form[ed] what
is styled as the ‘Managed Care Enterprise’, an entity which allegedly operates to defraud
plaintiffs and other physicians” by wrongfully delaying and denying compensation. /d., at *4-6,
66. In their motion to dismiss, defendants contended that plaintiffs did not “plead[}] a RICO
enterprise or its structure with sufficient detail.” /d., at *67.

Rejecting defendants’ arguments, the court observed that plaintiffs had identified each
entity that comprised the Managed Care Enterprise and ‘“‘describe{d] how defendants allegedly
use nonparty firms to further the RICO violations, employing such devices as ‘common billing
forms, a technology alliance and central coordination to accomplish their systematic scheme to
deny, delay and diminish payments to plaintiffs.’” /d., at *68-69 (record references omitted). As

in this case, the defendants in Grider contended that “ordinary business relationships or

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contractual relationships do not suffice for enterprise allegations.” /d. The court rejected that

contention, however, stating:

[P}laintiffs allege that the relationships between the defendants and
the other entities that make up the enterprise go beyond ordinary
business dealings. While greater specificity with respect to
structure and the interrelationship between the portions of the
alleged enterprise would no doubt be desirable, it is uncertain how
plaintiffs could accomplish this without discovery.... Plaintiffs
here have identified the parties that make up the enterprise,
described how these parties may be associated (through financial
incentives, for example); and alleged in sufficient detail for
notice pleading that the entities form a continuing unit with a
common course of conduct.

id., at *69-70 (emphasis added).

The RICO enterprise allegations in Counts | and II of the AMCC more than satisfy the
applicable pleading standards, as elucidated by the Grider court and as set forth in other recent,
persuasive district court opinions. See {| 624, 627, 628(a)-(v), 635-36, 650, 652, 653-54, 657-
59, 661(a)-(v); see also Panix Promotions, Ltd. v. Lewis, 2002 U.S. Dist. Lexis 784, at *17
(S.D.N.Y. Jan. 17, 2002) (holding that boxer Lennox Lewis sufficiently alleged an association-
in-fact enterprise consisting of his promoter, his lawyer, his manager and his financial advisor,
which “evinces a ‘continuity of structure”); R.. Reynolds Tobacco Co. v. S K Everhart, Inc.,
2003 U.S. Dist. Lexis 13440, at *11 (M.D.N.C. July 31, 2003) (defendants conceded that
tobacco manufacturer Reynolds had properly pled an enterprise consisting of “Reynolds along
with various wholesalers ... and various retailers ... [that] formed an ‘association-in-fact’ through
their marketing relationships”; “The complaint describes that this association-in-fact had a “unity
of purpose: to promote R.J. Reynolds cigarettes to consumers in order to increase R.J. Reynolds’
market share among adult smokers, while simultaneously increasing adult smoker traffic in
retailers’ stores.’”’).

The AMCC presents all of the facts necessary to allege an ongoing, continuing

enterprise. The participants are a manufacturer on one hand, and a Publisher or PBM on the

other. {{] 624, 651. The structure of each enterprise is simple. In the case of each

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Manufacturer-Publisher Enterprise, the participants “agree[d] to a structure wherein the
manufacturers made decisions as to what AWPs would be reported.” 4/627. A “common
communication network” exists through “which the Defendant Drug Manufacturer and the
specific Publisher share information on a regular basis” by, typically, “a manufacturer ...
instruct[ing] a publisher to list a certain AWP.” 625. Try as they may, Defendants cannot
demonstrate that the Publishers made a unilateral decision not to survey actual sales prices in the
market. Defs. Reply at 9. As the AMCC explains, the manufacturer sits atop the structure and
mandates the AWPs to be reported, and the Publishers report them as mandated. {| 627, 635-36.
Furthermore, the AMCC now alleges that the participants shared a common purpose benefiting
both principal parties: (i) Defendants get to control AWPs in order to create spreads and push
product, and (ii) the Publishers increase their profit margins through decreasing their costs of
production by eliminating the need to independently obtain real and truthful AWPs. {J 624, 626.
The structure and common communication network for the Manufacturer-PBM
Enterprises are also adequately described in the AMCC. The AMCC explains in detail how each
Defendant — sitting atop the enterprise — provides rebates and other inducements to each of the
four PBMs in order to control the drugs that the PBMs place on their formularies and to
otherwise encourage the PBMs to push Defendants’ products. As the AMCC alleges, each
Defendant directed each PBM to base its contract pricing on AWP so that the Defendant could
control drug pricing. In return for perpetuating the AWP Inflation Scheme, each Defendant
provided to each PBM financial incentives including (1) access rebates for placement of products
on the PBMs’ formulary; (ii) market share rebates for garnering higher market share than
established targets; (iii) administrative fees for assembling data to verify market share results;
and (iv) other fees and grants in an effort to promote products. {| 653-58. The common purpose
of the venture is manifest: increase the profits of the Defendant Drug Manufacturers (by selling
more drugs) and the PBMs (through garnering spreads and collecting rebates) at the expense of

Plaintiffs and the Class. {[[ 654-57. None of these allegations are even addressed in

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Defendants’ memoranda. See Defs. Reply at 9-10. And for good reason, as they establish a
common and shared purpose at the pleading stage sufficient to defeat Defendants’ motion.

In sum, these factual allegations — which are not mere “ritualistic averments” as posited
by Defendants — “identiffy] the parties that make up the enterprise, describe[] how these parties
may be associated (through financial incentives, for example); and allege{] in sufficient detail for
notice pleading that the entities form a continuing unit with a common course of conduct.”
Grider, 2003 U.S. Dist. Lexis 16551, at *70. The allegations need not be lengthy and complex
to meet this standard. Plaintiffs have plainly alleged enterprises that “exhibit structural
continuity which exists where there is an organizational pattern or system of authority that
provides a mechanism for directing the group’s affairs on a continuing, rather than an ad hoc,
basis.” Manhattan Telecomms. Corp. v. DialAmerica Mktg., 156 F, Supp. 2d 376, 381-82
(S.D.N.Y. 2001). And, these factual allegations meet the First Circuit requirement of a
“common purpose” and “systematic linkage” as also evidenced by allegations of financial ties
and continuing coordination. Libertad v. Welch, 53 F.3d 428, 444 (1st Cir. 1995).°

Defendants cannot wish away these allegations. Nor can they impose a higher pleading
standard that would require Plaintiffs to have substantial “inside” knowledge of all aspects of the
enterprises’ operations — an impossible standard proffered by no case cited by Defendants. The

Court should reject Defendants’ challenge to the enterprises alleged in the AMCC.

2. The AMCC Properly Alleges that Defendants Conducted the Affairs of the
Manufacturer-Publisher Enterprises and the Manufacturer-PBM
Enterprises
As highlighted in Plaintiffs’ opposition brief, Counts I and II allege that Defendants
violated Section 1962(c) of RICO by conducting the affairs of the Manufacturer-Publisher
Enterprises and the Manufacturer-PBM Enterprises through a pattern of racketeering activity,

thereby satisfying the standard established by the Supreme Court in Reves v. Ernst & Young, 507

° If the Court is still not convinced as to the adequacy of the RICO Counts due to a lack of specificity, then
given the adequacy of the AMCC, the Court should allow discovery. See Plaintiffs’ Memorandum In Support Of
Motion To Take Additional Limited Discovery.

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U.S. 170, 179 (1983) (stating the plaintiff must allege that defendant played “some part in
directing the enterprise’s affairs”) (emphasis in original); see also Aetna Cas. Sur. Co. v. P&B
Autobody, 43 F.3d 1546, 1559 (1st Cir. 1994) (the “operation or management test” established in
Reves requires only “a degree of direction,” which can be direct or indirect); Plaintiffs’ Opp. at
28-32.

In response, Defendants contend that “Plaintiffs have not alleged any facts explaining
how any one of the defendants exerted control over independent publishers and PBMs.” Defs.
Reply at 11. Defendants are wrong. As the AMCC explains, Defendants controlled each of their
Manufacturer-Publisher Enterprises by making decisions as to what AWPs would be reported
and issuing instructions on how its AWPs were to be reported. See {ff 627, 635-36. The
Publishers themselves have confirmed this by stating that all pricing information is supplied by
the Defendants without independent review. 136. And it is important to keep in mind that
Defendants are under no legal obligation to report AWPs or even use the Publishers but chose
to do so to further their AWP Inflation Scheme through the RICO enterprise; therefore, the
AMCC plainly alleges control that goes well beyond the “arms-length relationships” that
Defendants spin. See Defs. Reply at 11.

Each Defendant also controls and otherwise participates in the affairs of its respective

Manufacturer-PBM Enterprises by (i) directly controlling the price for its AWPIDs, which
determines the amount of spread each of the PBMs’ receives as part of its compensation,
{| 667(a), (ii) “directly controlfing] the creation and distribution of marketing, sales, and other
materials used to inform each of the PBMs of the profit potential of its AWPIDs, { 667(d), and
(ili) providing rebates or other inducements to place a certain Defendant Drug Manufacturer’s
AWPIDs on a PBM formulary or advocate the use of a certain AWPID, { 667(f) (specifically
listing the various forms of rebates and inducements). See also Plaintiffs’ Opp. at 28-32.

Defendants apparently believe that Plaintiffs must plead all of the details comprising the

totality of the command and control structure of the enterprises, but this is not the proper

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standard. To the contrary, Rule 9(b) does not apply to allegations of Section 1962{c)’s
“conduct” element. See, e.g., RJ. Reynolds, 2003 U.S. Dist. Lexis 13440, at *20 (‘The
complaint alleges that [defendant] Terrell ‘operated the scheme.’ Such an allegation is sufficient
to satisfy the ‘operation or management’ test.”).

Defendants’ reply also advances the misimpression that Defendants must control all
aspects of the enterprises’ affairs before being subject to liability. Yet controlling authorities
maintain that liability under Section 1962(c) is net limited to upper management, and that the
operation or management requirement will be satisfied “by lower rung participants in the
enterprise who are under the direction of upper management” provided that that they at least
participate in some manner in the operation and management of the enterprise. See, e. g., Reves,
507 U.S. at 184-85. Consequently, courts have recognized that the level of participation that
may result in RICO liability “depends on the nature and configuration of the enterprise and the
defendant’s position in or connection to the enterprise.” Dale v. Frankel, 131 F. Supp. 2d 852,
858 (S.D. Miss. 2001). Importantly, the First Circuit has observed that “Congress intended to
reach all who participate in the conduct of that enterprise, whether they are generals or foot
soldiers.” United States v. Oreto, 37 F.3d 739, 751 (Ist Cir. 1994) (emphasis added; footnote
omitted).’ See also MCM Partners, Inc. v. Andrews-Bartlett & Assocs., 62 F.3d 967, 979 (7th
Cir. 1995) (When the alleged enterprise is an association-in-fact, even lower-rung participants
(“foot soldiers”) who have “knowingly implemented management’s decisions,” thereby enabling
the enterprise to achieve its goals, may be held liable); Goren v. New Vision Int’ Ine., 156 F.3d

721, 728 n.3 (7th Cir. 1998) (holding that “lower rung” members of an alleged association-in-

"In uphoiding the RICO convictions of mere “collectors” for a loansharking ring, the First Circuit carefully
parsed Reves and emphasized that the accountants in Reves were not liable because they “neither made those
decisions nor carried them out; in other words, the accountants were outside the chain of command through which
the enterprise's affairs were conducted.” /d. at 750. The court also emphasized that “[s]pecial care is required in
translating Reves’ concern with ‘horizontal’ connections — focusing on the liability of an outside advisor — into the
‘vertical’ question of how far RICO liability may extend within the enterprise but down the organizational ladder.”
id. Indeed, citing Oreto and other First Circuit decisions following Oreto, the court in United States v. Owens, 167
F.3d 739, 754 (Ist Cir. 1999), stated that ‘“‘Reves’s analysis does not apply where a party is determined to be inside a
RICO enterprise.” (Emphasis added; citations omitted.)

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fact enterprise may be found liable “because they ... knowingly implemented the decisions of
upper management and thereby participated in the direction of the enterprise”).

Of course, the AMCC alleges that Defendants are the leaders of their respective
association-in-fact enterprises, while the Publishers and PBMs are not. See {| 625, 627, 635-36,
653, 667. Thus, the AMCC clearly alleges that Defendants are the “generals” of these
enterprises. Oreto, 37 F.3d at 751. But even if the reverse were true — that the Publishers and
PBMs were the “generals” and the pharmaceutical manufacturers were the “foot soldiers” —
Defendants would still be liable for conducting the enterprises’ affairs.

In light of the AMCC’s very specific factual allegations of control and the First Circuit
precedents cited and discussed above, it is surprising that Defendants continue to rely solely
upon a district court outside the First Circuit, Arrandt v. Steiner, 2001 U.S. Dist. Lexis 11410
(N.D. Ill. Aug. 3, 2001). See Defs. Reply at 11. As Plaintiffs explained in their opposition brief,
Arrandt does not apply here given the contrast between the substantial allegations of control set
forth in the AMCC and the Arrand? defendant’s total lack of participation in, let alone control of,
the alleged enterprises. Indeed, the Arrandt plaintiff's complaint did not even identify by name
all of the members of the alleged association-in-fact enterprise, let alone the roles that each of
them played in the alleged scheme to defraud the customers. Defendants can only try to make
Arrandt apply to this case by ignoring entire paragraphs of the AMCC that explain how
Defendants control the respective enterprises. See Plaintiffs’ Opp. at 29 (citing §] 627, 635-36
and quoting {| 136)), 30 (quoting {| 667(a) & (d)). Plaintiffs’ substantial allegations of control

and participation should be sustained.

3. Plaintiffs Properly Allege that They Have Standing to Sue Defendants for
RICO Violations

As previously stated, Plaintiffs’ allegations more than satisfy the “injury” and “causation”
elements of a civil RICO claim brought under Section 1964(c) by alleging a direct connection

between Defendants’ AWP Inflation Scheme, their alleged acts of mail and wire fraud, and the

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